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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA


       IN RE: ZANTAC (RANITIDINE)                                                    MDL NO. 2924
       PRODUCTS LIABILITY                                                             20-MD-2924
       LITIGATION
                                                         JUDGE ROBIN L. ROSENBERG
                                                MAGISTRATE JUDGE BRUCE E. REINHART

       _______________________________/

   THIS DOCUMENT RELATES TO: ALL CASES

                                     PRETRIAL ORDER # 11
          Stipulated Order Setting Forth Procedures for Direct Filed Personal Injury Cases

   I.       SCOPE OF THE ORDER

          This stipulated Order shall govern the direct filing of actions in In re Zantac (Ranitidine)

   Products Liability Litigation, MDL No. 2924, in the Southern District of Florida and applies only

   to personal injury claims brought by Plaintiffs based on usage or purchase of Zantac or ranitidine

   in the United States.

   II.      DIRECT FILING OF CASES INTO MDL NO. 2924

            1.     To eliminate delays associated with the transfer to this Court of cases filed in or

   removed to other federal district courts and to promote judicial efficiency, any plaintiff whose case

   would be subject to transfer to MDL No. 2924 may file his or her complaint against all Defendants

   directly in MDL No. 2924 in the United States District Court for the Southern District of Florida.1

            2.     Any complaint that is filed directly in the Southern District of Florida pursuant to

   this Order shall be deemed directly filed in MDL No. 2924 and filed as a new civil action through

   the Court’s electronic filing system. At the time of filing, the complaint shall bear the caption set



   1
     This Order shall apply to any complaints filed directly in the Southern District of Florida on or
   after February 20, 2020.
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   forth in Paragraph 13 of this Order and be accompanied by a civil cover sheet and summons. The

   civil cover sheet shall specify under the “Related Case(s)” section that the case is related to MDL

   No. 2924. Once the case is filed, it shall be assigned a civil case number. After review by the

   Clerk of Court’s office, the case will be automatically consolidated in MDL No. 2924.

           The process for direct filing will be as follows. Attorneys who are subject to the Local

   Rules of this District must file the complaint in accordance with the Local Rules.2 Attorneys who

   are not admitted to practice in the United States District Court for the Southern District of Florida

   and who have not obtained local counsel shall be allowed electronic filing privileges and permitted

   to file and receive service of documents electronically according to this Court’s CM/ECF

   Administrative Procedures, notwithstanding language to the contrary in Special Rule 4 of the Local

   Rules of the United States District Court for the Southern District of Florida. Such attorneys shall

   file the Certificate of Understanding attached at Schedule C. The Court directs the Court

   Administrator-Clerk of Court to assign CM/ECF usernames and passwords to such attorneys

   following the receipt by the Clerk of Court of properly executed Certificates of Understanding.

           3.       With the exception of any complaints that include plaintiffs who solely assert

  derivative claims, no multi-plaintiff complaints may be directly filed in MDL No. 2924.

           4.       Each case filed directly in MDL No. 2924 that emanates from a district outside the

   Southern District of Florida will be filed in MDL No. 2924 for pretrial proceedings only, consistent

   with the Judicial Panel on Multidistrict Litigation’s February 6, 2020, Transfer Order (DE 1).

           5.       In any complaint directly filed in the Southern District of Florida pursuant to this

   Order, Plaintiff shall identify his or her federal district of residence in which the action otherwise



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     Pursuant to Rule 1 of the Rules Governing Admission in this District, an attorney is eligible for admissions if the
   attorney is currently a member in good standing with the Florida Bar. Pursuant to Rule 4, attorneys who reside within
   this District and practice before this Court are expected to be members of the bar of this Court.

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   would have been filed absent the direct filing procedure. Upon completion of all pretrial

   proceedings applicable to a case directly filed in this Court, pursuant to 28 U.S.C. § 1404(a), this

   Court will transfer each case to the identified federal district of residence unless the parties jointly

   advise the Court that a case should be transferred to another district in which venue is proper.

           6.      Nothing contained in this Order shall preclude the parties from agreeing, at a future

   date, to try cases filed pursuant to this Order in the Southern District of Florida.

           7.      All Defendants stipulate and agree that they will not assert any objection of

   improper venue pursuant to Fed. R. Civ. P. 12(b) as to any ranitidine-related cases filed directly in

   the Southern District of Florida that emanate from districts outside the Southern District of Florida

   and that are filed in this multidistrict litigation for pretrial proceedings.

           8.      The inclusion of any action in this MDL No. 2924, whether such action was or will

   be filed originally or directly in the Southern District of Florida, shall not constitute a determination

   by this Court that venue is proper in this district. Likewise, nothing in this Order shall be construed

   as a waiver of personal jurisdiction by any named Defendant, served or unserved.

           9.      Filing an action directly into MDL No. 2924 shall not constitute, for any party, a

   waiver pursuant to Lexecon, Inc. v. Milberg Weiss Bershad Hynes & Lerach, 523 U.S. 26 (1998).

           10.     All parties stipulate and agree that a case that was filed directly in MDL No. 2924

   pursuant to this Order will have no impact on choice of law that otherwise would apply to an

   individual case had it been originally filed in another district court and transferred to this Court

   pursuant to 28 U.S.C. § 1407.

           11.     All Defendants stipulate and agree that the filing of a complaint directly in MDL

   No. 2924 pursuant to this Order shall stop the running of any statute of limitations or prescriptive

   or preemptive period as if the complaint had been filed in an appropriate venue.



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          12.     The references to “all Defendants” herein shall not constitute an appearance by or

   for any Defendant not properly served.

          13.     The caption for any complaint that is directly filed in MDL No. 2924 before this

   Court shall bear the following caption:




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   UNITED STATES DISTRICT COURT
   SOUTHERN DISTRICT OF FLORIDA

   IN RE: ZANTAC (RANITIDINE)        MDL NO. 2924
   PRODUCTS LIABILITY                20-MD-2924
   LITIGATION
                                     JUDGE ROBIN L. ROSENBERG
   ________________________,         MAGISTRATE JUDGE BRUCE E. REINHART

         Plaintiff(s),               COMPLAINT [& JURY DEMAND]

   vs.                               CIVIL ACTION NO. ____________

   ________________________,
         Defendants.

   ______________________________/

   THIS DOCUMENT RELATES TO: CASE NAME

         DONE and ORDERED in Chambers, West Palm Beach, Florida, this 20th day of

   March, 2020.



                                       _______________________________________
                                       ROBIN L. ROSENBERG
                                       UNITED STATES DISTRICT JUDGE




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